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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

WR PROPERTY LLC, et al.,

Plaintiffs, Civil Action No. 17-3226 (MAS) (DEA)

v. ORDER

TOWNSHIP OF JACKSON, et al.,

Defendants.

 

 

This matter comes before the Court upon Plaintiffs WR Property LLC and Agudath Israel
of America’s (collectively, *“Plaintiffs”} Motion for Preliminary Injunction. (ECF No. 55.)
Defendants Township of Jackson, Mayor Michael Reina, former Council President Robert Nixon,
Township Administrator Helene Schlegel, Zoning Enforcement Officer Jeffrey Purpuro, Code
Enforcement Officer William Campbell, and Code Compliance Supervisor Kenneth Pieslak
(collectively, “Defendants”) opposed (ECF No. 58), and Plaintiffs replied (ECF No. 60). The
parties also submitted supplemental material in support of their arguments. (ECF Nos. 74, 82, 83,
107, 112, 114, 116, 117.) The Court has carefully considered the parties’ submissions and heard
oral argument on March 30, 2021. For the reasons set forth in the accompanying Memorandum
Opinion, and for good cause shown,

IT IS on this Sth day of May, 2021 ORDERED that:

l. Plaintiffs’ Motion for Preliminary Injunction (ECF No. 55) is GRANTED.

/si Michael A. Shipp
MICHAEL A. SHIPP
UNITED STATES DISTRICT JUDGE
